Case 1:19-cr-00149-JRH-BKE Document 1 Filed 11/07/19 Page 1 of 16

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

  

18 U.S.C. § 1347
Health Care Fraud

AUGUSTA DIVISION
CR11%- Q,
UNITED STATES OF AMERICA ) INDICTMENT NO. cae =
) =)
v. ) Count 1 e| ry
) 18 U.S.C. § 371 th —
PATRICK SIADO and ) Conspiracy —
OPTIMUS PRIME MARKETING, LLC)
) Counts 2-5
)
)
)
)

Forfeiture Allegation
THE GRAND JURY CHARGES THAT:

At all times relevant to this Indictment, unless otherwise indicated:

INTRODUCTION

1. Patrick Siado (“SIADO”), aided and abetted by unindicted co-
conspirators, through his company, OPTIMUS PRIME MARKETING, LLC,
(‘OPTIMUS’) engaged in a scheme to obtain reimbursement from Medicare and
Medicaid for medically unnecessary “cancer screening” laboratory tests in Georgia
and elsewhere.

The Medicare Program

2. The Medicare Program (“Medicare”), a federal health care program as
defined by 18 U.S.C. § 24, provides benefits to persons who are at least 65 years old
or disabled. Medicare is administered by the Centers for Medicare and Medicaid

Services (“CMS”), a federal agency under the United States Department of Health
Case 1:19-cr-00149-JRH-BKE Document 1 Filed 11/07/19 Page 2 of 16

and Human Services. Individuals who receive benefits under Medicare are referred
to as Medicare “beneficiaries.”

3. Medicare is divided into multiple parts. Medicare Part B covers, among
other things, costs relating to medically necessary laboratory tests and procedures.

4, In order for a laboratory to submit claims to Medicare for performing
laboratory tests, such as cancer screening, those tests need to be ordered by a licensed
medical provider who has a bona fide physician-patient relationship with the patient,
not induced by the unlawful payment of remuneration, and medically necessary,
among other requirements.
5. Claims to Medicare were typically submitted electronically and required
certain information, including (a) the Medicare beneficiary’s name and identification
number, (b) identification of the benefit, item, or service provided or supplied to the
Medicare beneficiary, (c) the billing code for the benefit, item, or service, (d) the date
upon which the benefit, item, or health services was provided, and (e) the name and
NPI of the physician that ordered the service, treatment, benefit, or item.

The Medicaid Program

6. The Medicaid Program (“Medicaid”), a federal healthcare program as
defined by 18 U.S.C. § 24, is jointly funded by the federal government and its
participating states. Medicaid assists in providing for medical items, services, and
benefits to those who because of financial circumstances, or otherwise, would

typically not be able to afford such medical items, benefits, or services.
Case 1:19-cr-00149-JRH-BKE Document 1 Filed 11/07/19 Page 3 of 16

7. At the federal level, Medicaid is administered by CMS. In Georgia, the
Medicaid program is administered by the Georgia Department of Community Health
(“DCH”). Within broad limits set by federal law, DCH is responsible for administering
the program and establishing the rules and regulations which determine how
benefits, items, and services are covered and reimbursed.

8. A fundamental requirement for all Medicaid services and benefits to be
covered and paid for is that the service must be medically necessary and within
accepted professional standards of practice.

9. Medicaid covers laboratory tests and services which are medically
necessary and requested by an attending or consulting physician. The services must
also be provided in compliance with all federal and state laws including, but not
limited to, the Federal Anti-Kickback statute.

10. Claims are submitted to Medicaid electronically must contain certain
information in order to be processed and paid. Such information includes (a) the
Medicaid beneficiary's name and identification number, (b) identification of the
benefit, item, or service provided or supplied to the Medicaid beneficiary, (c) the
billing code for the benefit, item, or service, (d) the date upon which the benefit, item,
or service was provided, and (e) the name and NPI for the physician that ordered the
service, benefit,.or item.

Cancer Genomic Tests
11. Cancer genomic (“CGx”) testing used DNA sequencing to detect

mutations in genes that could indicate a higher risk of developing certain types of
Case 1:19-cr-00149-JRH-BKE Document 1 Filed 11/07/19 Page 4 of 16

cancers in the future. CGx testing was not a method of diagnosing whether an
individual presently had cancer.

12. Medicare did not cover diagnostic testing that was not “reasonable and
necessary for the diagnosis or treatment of illness or injury or to improve the
functioning of a malformed body member.” Title 42, United States Code, Section
1395y(a)(1)(A). Except for certain statutory exceptions, Medicare did not cover
“examinations performed for a purpose other than treatment or diagnosis of a specific
illness, symptoms, complaint or injury.” Title 42, Code of Federal Regulations, Section
41 1.15(a)(1). Among the statutory exceptions Medicare covered were cancer
screening tests such as “screening mammography, colorectal cancer screening tests,
screening pelvic exams, [and] prostate cancer screening tests.” Id.

13. If diagnostic testing were necessary for the diagnosis or treatment of
illness or injury or to improve the functioning of a malformed body member, Medicare
imposed additional requirements before sovering the testing. Title 42, Code of Federal
Regulations, Section 410.32(a) provided, “All diagnostic x-ray tests, diagnostic
laboratory tests, and other diagnostic tests must be ordered by the physician who is
treating the beneficiary, that, is, the physician who furnishes a consultation or treats
a beneficiary for a specific medical problem and ‘who uses the results in the
management of the beneficiary’s specific medical problem.” “Tests not ordered by the
physician who is treating the beneficiary are not reasonable and necessary.” Id.

14. Because CGx testing did not diagnose cancer, Medicare only some

such tests in limited circumstances, such as when a beneficiary had cancer, and the
Case 1:19-cr-00149-JRH-BKE Document1 Filed 11/07/19 Page 5 of 16

beneficiary’s treating physician deemed such testing necessary for the beneficiary's
treatment of that cancer. Medicare did not cover CGx, testing for beneficiaries who
did not have cancer or lacked symptoms of cancer.

15. Similarly, Medicaid requires that any test for CGx be medically
necessary and ordered by an attending or consulting physician. A test is not medically
necessary if the ordering physician does not have a bona fide relationship with the
beneficiary.

Telemedicine

16. Telemedicine provides a means of connecting patients to medical
practitioners by using telecommunications technology, such as the internet or the
telephone, to interact with a patient.

17. Telemedicine companies provide telemedicine services to individuals by
hiring doctors and other health care providers. Telemedicine companies typically pay
doctors a fee to conduct consultations with patients. In order to generate revenue,
actual telemedicine companies typically either bill insurance or offer a membership
program to their customers.

18. Medicare Part B covers expenses for specified telehealth services if
certain requirements are met. These requirements include that (a) the beneficiary is
located in a rural or health professional shortage area; (b) services are delivered via
an interactive audio and visual telecommunications system; and (c) the beneficiary is
at a practitioner’s office or a specified medical facility — not at a beneficiary’s home —

during the telehealth consultation with a remote practitioner.
Case 1:19-cr-00149-JRH-BKE Document1 Filed 11/07/19 Page 6 of 16

19. In Georgia, medical practitioners may engage in the practice of medicine
by electronic means if, among other requirements, the practitioner (a) has personally
seen and examined the patient and supplements that care by electronic means; (b) is
requested to provide care by electronic means by a practitioner who has personally
seen and examined the patient; or (c) uses technology and peripherals that are equal
or superior to an examination done in person.

The Anti-Kickback Statute

20. For items that may be made in whole or in part under a Federal health
care program, the Anti-Kickback Statute, Title 42, United States Code, Section
1320a-7b, prohibits a range of knowing and willful conduct. The Anti-Kickback
Statute attaches criminal liability to parties on both sides of an impermissible
“kickback” transaction. In doing so, it ensures that patient care is based exclusively
on what is best for the patient and not upon the financial interest of the person or
entity making or arranging for the referral.

21. Specifically, conduct prohibited under the Anti-Kickback Statute
includes offering or paying any remuneration (including any kickback, bribe, or
rebate) directly or indirectly, overtly or covertly, in cash or in kind to any person to
induce such person to order any item or to refer an individual to a person for the
furnishing of any item or service.

22. Conduct prohibited under the Anti-Kickback Statute also includes
soliciting or receiving any remuneration (including any kickback, bribe, or rebate)

directly or indirectly, overtly or covertly, in cash or in kind to any person to induce
Case 1:19-cr-00149-JRH-BKE Document 1 Filed 11/07/19 Page 7 of 16

such person in return for ordering any item or, alternatively, referring an individual
for the furnishing of any item.
The Defendant and Related Entities

23. SIADO was a resident of Texas who operated a marketing company,
OPTIMUS PRIME MARKETING, LLC.

24. Company A was a marketing company operated out of Clearwater,
Florida.

25. Company B was a marketing company operated out of Houston, Texas.

26. Company C was a laboratory operated out of Doraville, Georgia.
Case 1:19-cr-00149-JRH-BKE Document 1 Filed 11/07/19 Page 8 of 16

COUNT ONE
CONSPIRACY TO DEFRAUD THE UNITED STATES and
TO PAY AND RECEIVE KICKBACKS
18 U.S.C. § 371

THE GRAND JURY CHARGES THAT:

27. The allegations of paragraphs 1 through 26 of this Indictment are
hereby realleged and incorporated as if fully set forth herein.

28. Beginning not later than March 2019, and continuing until on or about
July 2019, the exact date being unknown, in the Southern District of Georgia and
elsewhere, the defendants herein,

PATRICK SIADO and OPTIMUS PRIME MARKETING, LLC,

did knowingly and willfully combine, conspire, confederate, and agree with others
known and unknown to commit one or more offense against the United States, that
is,

a) to defraud the United States through deceitful and dishonest means, the lawful
government functions of HHS in its administration and oversight of the
Medicare and Medicaid program; and

b) to knowingly and willfully solicit and receive remuneration, including
kickbacks, directly and indirectly, overtly and covertly, in cash and in kind to
any person to induce a person to order an item for which payment may be made
in whole and in part under a federal health care program, that is, Medicare
and Medicaid, in violation of Title 42, United States Code, Section 1320a-
Tb(b)(1);

c) to knowingly and willfully offer and pay remuneration, including kickbacks,
Case 1:19-cr-00149-JRH-BKE Document 1 Filed 11/07/19 Page 9 of 16

directly and indirectly, overtly and covertly, in cash and in kind to any person

to induce a person to refer an individual for the furnishing and arranging for

the furnishing of an item or service for which payment may be made in whole

and in part under a federal health care program, that is, Medicare and

Medicaid, in violation of Title 42, United States Code, Section 1320a-7b(b)(2);

PURPOSE OF THE CONSPIRACY

It was the purpose of the conspiracy for SIADO, his coconspirators, and
OPTIMUS, to unlawfully enrich himself and others by, among other things:
(a) causing the submission of false and fraudulent claims to Medicare that were
(i) procured by the payment of kickbacks; (ii) medically unnecessary; (iii) ineligible
for Medicare and Medicaid reimbursement; and/or (iv) not provided as represented;
(b) concealing the submission of false and fraudulent claims to Medicare and
Medicaid and the receipt and transfer of the proceeds from the fraud; and (c) using
the proceeds of the fraud for the personal use and benefit of SIADO and his
accomplices.

MANNER AND MEANS OF THE CONSPIRACY

The manner and means by which the defendant and his co-conspirators sought
to accomplish the objects and the purpose of the conspiracy included, among other
things:

29. SIADO, and others affiliated with OPTIMUS, Company A, and
Company B, organized networks of individuals and arranged for their transportation
to communities with low-income and elderly individuals within the Southern District

of Georgia, Augusta Division, and elsewhere.
Case 1:19-cr-00149-JRH-BKE Document1 Filed 11/07/19 Page 10 of 16

30. SIADO, and wee affiliated with OPTIMUS, Company A, and
Company B, went door-to-door to obtain (a) personal identifying information such as
Medicare and Medicaid benefit numbers and identities, (b) buccal swabs of saliva.

31. SIADO, and others affiliated with OPTIMUS, would then transmit the
identities of Medicare and Medicaid beneficiaries and buccal swabs to Company A, a
“marketing company.”

32. The co-conspirators would then arrange for a “telemedicine” physician
to order the test as “medically necessary” for the patients identified by SIADO and
OPTIMUS, despite the fact that the physician never met the patient, let alone
established a legitimate physician-patient relationship, as required.

33. The co-conspirators would then transmit the identities of Medicare and
Medicaid beneficiaries, swabs, and corresponding “telemedicine” physician orders to
laboratories, including Company C, which then submitted claims to Medicare and
Medicaid.

34. Company C, among other laboratories, would then bill Medicare and
Medicaid using the identities of the individuals gathered by SIADO and his network.

35. SIADO, through OPTIMUS, would receive a payment for each test
“accepted” by the marketing company and laboratory, which involved “sales
processed” through the laboratory. Specifically, the terms of the kickback agreed to
by SIADO and his co-conspirator include

“Accepted Personal CGx Test”- $575

“Accepted Family CGx Test” - $475

10
Case 1:19-cr-00149-JRH-BKE Document1 Filed 11/07/19 Page 11 of 16

“Accepted Cardiac Test” -$200
“Accepted Alzheimer’s Test” -$150
“Accepted Beacon Carrier” - $250
“Accepted PGx Test” - $100

36. SIADO would then pay a kickback to individuals working for him who
assisted with the door-to-door targeting of Medicare and Medicaid patients.

37. SIADO and his co-conspirators then used the fraud proceeds to benefit
themselves and others.

Overt Acts

38. In furtherance of the conspiracy and to affect the illegal objects of the
conspiracy, the following overt acts, among others, were committed in the Southern
District of Georgia and elsewhere:

39. SIADO, aided and abetted by others, obtained the identity and a swab
from numerous patients located within the Southern District of Georgia, Augusta
Division, and elsewhere including

a. On or about May 13, 2019: the identity and a swab of Elizabeth C.
b. On or about May 18, 2019: the identity and a swab of Joe B.
c. Onor about May 13, 2019: the identity and a swab of Patricia E.

40. SIADO, aided and abetted by others, then sold the identity and swab
obtained, permitting Medicare and Medicaid to be billed for the fraudulent services,

and received, in exchange, money from other conspirators including

11
Case 1:19-cr-00149-JRH-BKE Document1 Filed 11/07/19 Page 12 of 16

a. On or about May 15, 2019, SIADO and OPTIMUS received a $575
kickback in exchange for the identity and a swab from Jackie, B.
b. On or about May 15, 2019, SIADO and OPTIMUS received a $575
kickback in exchange for the identity and a swab from Paula, D.
c. On or about May 15, 2019, SIADO and OPTIMUS received a $575
kickback in exchange for the identity and a swab from Russell, G.
d. On or about May 15, 2019, SIADO and OPTIMUS received a $575
kickback in exchange for the identity and a swab from Jackie, B.
e. On or about May 15, 2019, SIADO and OPTIMUS received a $575
kickback in exchange for the identity and a swab from Paula, D.
f. On or about May 15, 2019, SIADO and OPTIMUS received a $575
kickback in exchange for the identity and a swab from Russell, G.
41. Onor about July 19, 2019, SIADO organized a meeting to recruit new
individuals to obtain “customers” for a laboratory, during which meeting SIADO
offered to pay $150 “per swab” for each Medicare or Medicaid patient an individual
obtained.

All in violation of Title 18, United States Code, Section 371.
Case 1:19-cr-00149-JRH-BKE Document1 Filed 11/07/19 Page 13 of 16

COUNTS TWO THROUGH FIVE
Health Care Fraud
18 U.S.C. §§ 1347, 2

42. Paragraphs 1 through 41 of this Indictment are realleged and
incorporated herein by reference.

43. Beginning no earlier than March 2019, the exact date being unknown,
and continuing thereafter until at least in or about July 2019, in the Southern District
of Georgia and elsewhere the defendant,

PATRICK SIADO and OPTIMUS PRIME MARKETING, LLC,
aided and abetted by others both known and unknown, did knowingly and willfully
execute and attempt to execute a scheme and artifice to defraud the Medicaid and
Medicare programs and to obtain, by means of materially false and fraudulent
pretenses, representations, and promises, money and property owned by and under
the custody and control of the Medicaid and Medicare programs, in connection with
the delivery of and payment for health care benefits, items, and services.
Purpose of the Scheme and Artifice

44. It was the purpose of the scheme and artifice for SIADO to unlawfully
enrich himself and others by, among other things: (a) causing the submission of false
and fraudulent claims to Medicaid and Medicare that were (i) procured by the
payment of kickbacks and bribes; (ii) medically unnecessary; (iii) ineligible for
reimbursement; and/or (iv) not provided as represented; (b) concealing the

submission of false and fraudulent claims to Medicaid and Medicare and the receipt

13
» Case 1:19-cr-00149-JRH-BKE Documenti1 Filed 11/07/19 Page 14 of 16

and transfer of the proceeds from the fraud; and (c) using the proceeds of the fraud
for the personal use and benefit of SIADO and his accomplices.
The Scheme and Artifice

45. The Manner and Means section of Count 1 of this indictment is re-

alleged and incorporated by reference.
Acts in Execution of the Scheme and Artifice

46. To execute and attempt to execute the scheme and artifice SIADO,
through OPTIMUS and aided and abetted by others both known and unknown,
caused to be submitted false and fraudulent claims to Medicare and Georgia Medicaid
including but not limited to those set forth in the table below on or about the dates
listed below and for the patients listed below, when SIADO knew that his orders
were procured through an unlawful kickback relationship, not ordered as medically

necessary by the beneficiary’s treating physician, and not payable:

 

 

 

 

 

 

 

 

 

 

 

 

Count | Patient | Program| Claim | Claim Number Laboratory Billed
Date Amount
2 PD. Medicaid | 05/01/19 | 2019121005975 Company C $30,533.33
3 J.B. Medicaid | 05/10/19 | 2019130008449 Company C $30,533.33
4 R.G. Medicaid | 05/17/19 | 2019137003552 Company C $30,533.33
5 N.T. Medicaid | 05/01/19 | 2019121005923 Company C $30,533.33

 

All done in violation of Title 18, United States Code, Sections 1347 and 2.

14

 
Case 1:19-cr-00149-JRH-BKE Document1 Filed 11/07/19 Page 15 of 16

FORFEITURE ALLEGATIONS

The allegations contained in Count One through Six of this Indictment are
hereby re-alleged and incorporated by reference for the purpose of alleging forfeitures
pursuant to Title 18, United States Code, Section 982(a)(7).

Upon conviction of one or more of the offenses set forth in Counts One through
Six of this Indictment, the defendants, PATRICK SIADO and OPTIMUS shall
forfeit to the United States pursuant to Title 18, United States Code, Section
982(a)(7), any property (1) constituting or derived from proceeds the defendant
obtained directly or indirectly as a result of said offense(s) and all property traceable
to such property; and (2) any property used or intended to the used, in any manner
or part, to commit or to facilitate the commission of such offense(s).

Pursuant to Title 18, United States Code, Section 982(a)(7), upon conviction of
one or more of the offenses set forth in Counts One through Six of this Indictment,
charging the defendants, PATRICK SIADO and OPTIMUS, with a Federal health
care offense, the Court shall order forfeiture of property, real or personal, that
constitutes or is derived, directly or indirectly, from gross proceeds traceable to the
commission of the offense.

If any of the property described above, as a result of any act or commission of
the defendant:
cannot be located upon the exercise of due diligence;
has been transferred or sold to, or deposited with, a third party;
has been placed beyond the jurisdiction of the court;
has been substantially diminished in value; or

has been commingled with other property which cannot be
divided without difficulty,

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15
Case 1:19-cr-00149-JRH-BKE Document1 Filed 11/07/19 Page 16 of 16

the United States of America shall be entitled to forfeiture of substitute property
pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title 28,
United States Code, Section 2461(c).

A True Bill.

J. Phomas Clarkson

ssistant United States Attorney
*Lead Counsel

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16
